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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                      )
 ROBERT ROTH,
                                                      )
                                                      )
                 Plaintiff,
                                                      )
                                                      )
        v.
                                                      )
                                                      )
 ARQULE, INC., PATRICK J. ZENNER,
                                                      )
 TIMOTHY C. BARABE, SUSAN L.
                                                      )      Case No. 1:20-cv-10007
 KELLEY, RONALD M. LINDSAY,
                                                      )
 MICHAEL D. LOBERG, WILLIAM
                                                      )
 MESSENGER, RAN NUSSBAUM, PAOLO
 PUCCI, MERCK SHARP & DOHME CORP.,                    )
                                                      )
 and ARGON MERGER SUB, INC.,
                                                      )
                                                      )
                 Defendants.
                                                      )
                                                      )

                              NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure

that plaintiff Robert Roth (“Plaintiff”) voluntarily dismisses the claims in the captioned action (the

“Action”) with prejudice. Because this notice of dismissal is being filed with the Court before

service by defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal

of the Action is effective upon the filing of this notice.

Dated: January 31, 2020                    LEVI & KORSINSKY, LLP

                                            By: /s/ Shannon L. Hopkins
                                            Shannon L. Hopkins
                                            1111 Summer Street, Suite 403
                                            Stamford, CT 06905
                                            Tel.: (203) 992-4523
                                            Fax: (212) 363-7171
                                            Email: shopkins@zlk.com
                                                    stornatore@zlk.com

                                            - and -

                                            Donald J. Enright (to be admitted pro hac vice)
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                        Elizabeth K. Tripodi (to be admitted pro hac vice)
                        1101 30th Street, N.W., Suite 115
                        Washington, DC 20007
                        Tel: (202) 524-4290
                        Fax: (202) 337-1567
                        Email: denright@zlk.com
                                etripodi@zlk.com

                        Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the NEF (NEF) and paper copies will

be sent to those indicated as non-registered participants on January 31, 2020.

                                                     /s/ Shannon L. Hopkins
                                                     Shannon L. Hopkins
